Case 23-05593-RLM-7         Doc 22       Filed 02/06/24   EOD 02/06/24 08:05:45     Pg 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


IN RE:                                          )
                                                )   Case No. 23-05593-RLM-7
                                                )   (Involuntary)
Rodney Grubbs,                                  )
                                                )
                                                )
               Debtor.                          )


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         Comes now James J. O’Connor, Jr. of Barrett McNagny, LLP, and pursuant to S.D. Ind.

L.R. 9010-1 and 2002-1 enters his appearance on behalf of creditors Zack Grubbs and Amy

Grubbs, in the above-captioned matter.

         PLEASE TAKE FUTHER NOTICE that counsel hereby requests copies of all notices and

pleadings given or filed in this case be given and served upon him at the address, e-mail or

facsimile number indicated below.


Date: February 6, 2024                              BARRETT McNAGNY LLP

                                                    By /s/ James J. O’Connor, Jr.
                                                      James J. O’Connor, Jr., #23081-02
                                                      215 East Berry Street
                                                      Fort Wayne, IN 46802
                                                      Telephone: (260) 423-9551
                                                      Fax: (260) 423-8920
                                                      Email: jjo@barrettlaw.com
                                                      Attorney for Josh Grubbs
                                                      and Abby Grubbs




                                                1
Case 23-05593-RLM-7          Doc 22    Filed 02/06/24     EOD 02/06/24 08:05:45          Pg 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on February 6, 2024, a copy of the foregoing Notice of Appearance
and Request for Notice was filed with the U.S. Bankruptcy Court. Notice of this filing will be sent
to the following counsel of record/parties by operation of the Court’s CM/ECF system:

        Additionally, a copy was mailed to the pro se debtor via U.S. mail, postage pre-paid at
the following address:

       Rodney Grubbs
       316 East 11th Street
       Brookville, IN 47012

                                                            /s/ James J. O’Connor, Jr.
                                                            James J. O’Connor, Jr.




                                                2
